         Case 1:19-cr-00156-MAD Document 84 Filed 08/28/20 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,                        )
                                                  )
        vs.                                       )   No. 1:19-cr-00156-MAD
                                                  )
 XIAOQING ZHENG.                                  )


                      MOTION FOR WITHDRAWAL OF
              MATTHEW W. OLINZOCK AS COUNSEL FOR DEFENDANT

       Matthew W. Olinzock respectfully moves this Court for an order permitting the withdrawal

of his appearance as counsel for Defendant Xiaoqing Zheng (the “Defendant”) in this matter. In

support thereof, the undersigned states as follows:

       1. Prior to July 10, 2020, Defendant was represented in this matter by Kevin A. Luibrand

           from the Luibrand Law Firm PLLC and two attorneys from the law firm of Breeding

           Henry Baysan PC—Bradley L. Henry (the lead attorney), and Matthew W. Olinzock.

       2. On July 10, 2020, Mr. Henry left Breeding Henry Baysan PC and began practicing with

           the law firm of Michelman & Robinson LLP. Mr. Henry’s new contact information is:

               Michelman & Robinson LLP
               800 Third Avenue, New York, NY 10022
               212-730-7700
               bhenry@mrllp.com

       3. Defendant has since informed the undersigned counsel that he desires to continue with

           his representation by Mr. Henry, have his filed transferred to Mr. Henry’s new firm,

           and for Mr. Olinzock to withdraw as counsel.

       4. Defendant will continue to be represented in this matter by his other counsel of

           record—Mr. Luibrand and Mr. Henry.

       WHEREFORE, Matthew W. Olinzock respectfully requests that the instant motion be

granted; and that the Court grant Mr. Olinzock leave to withdraw as counsel.
         Case 1:19-cr-00156-MAD Document 84 Filed 08/28/20 Page 2 of 2




                                                   Respectfully submitted,

                                                   /s/ Matthew W. Olinzock
                                                   Matthew W. Olinzock
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                                                   Tel: 865-670-8535
                                                   Fax: 865-670-8536
                                                   molinzock@bhblegal.com
                                                   Withdrawing Counsel for Defendant


                               CERTIFICATE OF SERVICE

       I, Matthew W. Olinzock, an attorney, certify that on August 28, 2020, I served the above

by causing true and accurate copies of such paper to be filed and transmitted to all counsel

of record via the Court’s CM/ECF electronic filing system.



                                                   /s/ Matthew W. Olinzock
                                                   Matthew W. Olinzock
